                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 PROCRAFT CABINETRY, INC.,                      )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )   No. 3:17-cv-01392
                                                )   CHIEF JUDGE CRENSHAW
 SWEET HOME KITCHEN AND BATH,                   )
 INC., et al.,                                  )
                                                )
        Defendants.                             )


                                           ORDER

       For the reasons in the accompanying Memorandum Opinion, the Court GRANTS

summary judgment to Huang and Lin on Count Five of the Third Party Complaint. (Doc. No. 255.)

The Complaint, counterclaims, remaining third party claims, and counter-counterclaims are

DISMISSED WITHOUT PREJUDICE. Procraft Cabinetry’s Motion for Leave to File Excess

Pages (Doc. No. 333) and Huang and Lin’s Motion for Leave to File Excess Pages (Doc. No. 326)

are GRANTED. Procraft Cabinetry’s two Motions for a Preliminary Injunction (Doc. Nos. 12,

18) and Motion to Strike (Doc. No. 315) are DENIED.

       The Motions to Seal (Doc. Nos. 322, 328) are also DENIED. Huang and Lin filed the

documents under seal pursuant to the Protective Order and the Magistrate Judge entered an order

for any party that believed they should remain under seal to file a response. (Doc. No. 331.) No

party filed a response. Accordingly, the Clerk is DIRECTED to unseal Chen’s June 1, 2018

Deposition Transcript (Doc. No. 323), Huang’s June 2, 2018 Deposition Transcript (Doc. No.

324), and the Sealed Notice of Filing with accompanying redacted exhibits (Doc. No. 329, 329-1,

329-2, 329-3, 329-4, 329-5).




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       Procraft Cabinetry’s Motion to Ascertain Status (Doc. No. 349), Huang and Lin’s Motion

to Stay (Doc. No. 321), Procraft Cabinetry’s Motion for Reconsideration (Doc. No. 311), Certain

Defendants’ Motion to Stay (Doc. No. 305), Huang and Lin’s Motion to Strike (Doc. No. 286),

Chen’s Motion to Dismiss (Doc. No. 282), Procraft Cabinetry’s Motion for Order to Show Cause

(Doc. No. 262), and Certain Defendants’ Motion to Dismiss (Doc. No. 250) are DENIED AS

MOOT.

       The Clerk shall enter judgment in accordance with Federal Rule of Civil Procedure 58.

       IT IS SO ORDERED.


                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




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